           CASE 0:19-cv-01453-PJS-SER Document 21 Filed 08/14/19 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



Jaime Beck, Byron Hanson, and               Civil Action No. 0:19-CV-01453 (PJS/SER)
Lynn Melcher,

           Plaintiffs,

v.

William F. Austin, et al.,

           Defendants.


           JOINT STIPULATION FOR EXTENSION OF TIME TO ANSWER OR
            OTHERWISE PLEAD AS TO DEFENDANT JEFFREY LONGTAIN


           WHEREAS, on June 3, 2019, Plaintiffs filed this action; and

           WHEREAS, on June 24, 2019, Plaintiffs mailed a Notice to Waive Service of

Summons to Defendant Jeffrey Longtain;

           WHEREAS, on July 17, 2019, Defendant Longtain filed the waiver of service

[ECF No. 5], pursuant to which Defendant Longtain must answer or otherwise plead on

or before August 23, 2019; and

           WHEREAS, Defendant Longtain does not intend to file a motion to dismiss but

rather to wait to answer pending the outcome of any motion to dismiss or other Rule 12

motion filed by Defendants Starkey Laboratories, Inc., William F. Austin, or Brandon

Sawalich, and Plaintiffs agree that efficiency and judicial economy will be served by

foregoing interim pleadings; and



541207.4
           CASE 0:19-cv-01453-PJS-SER Document 21 Filed 08/14/19 Page 2 of 3



           WHEREAS, Plaintiffs provided both earlier and later Notices to Waive Service of

Summons to other Defendants, and have received an extension to the deadline to answer

for Defendants Starkey Laboratories, Inc., William F. Austin, and Brandon Sawalich to

answer or otherwise plead until September 13, 2019 [ECF No. 8], and for Defendant

Jerome Ruzicka to answer under the same circumstances as those requested in this

stipulation [ECF No. 16]; and

           WHEREAS, the case involves multiple Defendants represented by separate

counsel, and Plaintiffs and Defendant desire a uniform schedule for any answer or other

pleading to be filed to promote case efficiency and scheduling.

           NOW THEREFORE, Plaintiffs and Defendant Longtain, by and through their

respective undersigned counsel, hereby STIPULATE AND AGREE that:

           1.    The time in which Defendant Longtain shall answer in response to the

                 complaint may, with the court’s approval, be extended from August 23,

                 2019, until fourteen (14) days after a ruling on any motion to dismiss or

                 other Rule 12 motion filed by Defendants Starkey Laboratories, Inc.,

                 William F. Austin, or Brandon Sawalich;

           2.    Should Defendants Starkey Laboratories, Inc., William F. Austin, and

                 Brandon Sawalich file an answer in lieu of a motion to dismiss or other

                 Rule 12 motion, Defendant Longtain shall answer in response to the

                 complaint within seven (7) days after such answer(s) are filed;

           3.    Either party’s counsel may file this Stipulation with the Court using the

                 other counsel’s electronic signature; and


541207.4                                    2
           CASE 0:19-cv-01453-PJS-SER Document 21 Filed 08/14/19 Page 3 of 3



           4.    The Court may issue an Order granting this stipulated request for an

                 extension without a hearing.


                                        LOCKRIDGE GRINDAL NAUEN, PLLP

Dated: August 14, 2019                  By /s Kate M. Baxter-Kauf
                                            Gregg M. Fishbein, No. 202009
                                            Kate M. Baxter-Kauf, No. 392037
                                            Arielle S. Wagner, No. 398332
                                        100 Washington Avenue South, Suite 2200
                                        Minneapolis, MN 55401-2159
                                        Telephone: (612) 339-6900
                                        Facsimile: (612) 339-0981
                                        gmfishbein@locklaw.com
                                        kmbaxter-kauf@locklaw.com
                                        aswagner@locklaw.com

                                        Attorneys for Plaintiffs

                                        KELLEY, WOLTER & SCOTT, P.A.
Dated: August 14, 2019                  By /s Steven E. Wolter
                                            Steven E. Wolter, No. 170707
                                        431 S. 7th Street, Suite 2530
                                        Minneapolis, MN 55415
                                        Telephone: 612-371-9090
                                        swolter@kelleywolter.com

                                        Attorney for Defendant Jeffrey Longtain




541207.4                                   3
